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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


MARK ORTEGA, INDIVIDUALLY AND                     §
ON BEHALF OF ALL OTHERS                           §
SIMILARLY SITUATED;                               §                   SA-24-CV-00573-XR
             Plaintiff                            §
                                                  §
-vs-                                              §
                                                  §
CORNERSTONE AUTO PROTECTION                       §
INC., CALL HANDLES, LLC,                          §
              Defendants                          §
                                                  §



                                             ORDER

       On this date, the Court considered the status of this case. On October 25, 2024, the Court

granted by text order the Motion for Withdrawal of Counsel (ECF No. 13) filed by counsel for

Plaintiff Mark Ortega. No successor attorney has been identified.

       Pursuant to the Local Rules of the Western District of Texas:

       An attorney seeking to withdraw from a case must file a motion specifying the
       reasons for withdrawal and providing the name and office address of the successor
       attorney. If the successor attorney is not known, the motion must set for the client’s
       name, address, and telephone number, and must bear either the client’s signature or
       a detailed explanation why the client’s signature could not be obtained after due
       diligence.

Local Rule AT-3 (W.D. Tex.). “An attorney may withdraw from representation only upon leave

of the court and a showing of good cause and reasonable notice to the client.” Matter of Wynn, 889

F.2d 644, 646 (5th Cir. 1989). A district court’s decision to grant leave to withdraw is within the

sound discretion of the court. Id.
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          Because the motion complied with the local rule and shows good cause, the Court permitted

counsel to withdraw, and Attorney Paulina Almanza was withdrawn as counsel for Plaintiff Mark

Ortega.

          No later than November 25, 2024, Plaintiff shall either (1) file a written advisory to the

Court that he intends to proceed without counsel; (2) obtain new counsel and have that counsel

enter a written appearance; (3) notify the Court that he no longer wishes to prosecute this case and

move to voluntarily dismiss this case; or (4) move for additional time to comply with this Order.

Failure to comply with this Order may result in dismissal of this case.

          The Clerk is directed to mail a copy of this Order to Plaintiff at the following address:

          Mark Anthony Ortega
          15450 Capital Prt. Dr.
          San Antonio, Texas 78249
          (210) 744-9663

          It is so ORDERED.

          SIGNED this 25th day of October, 2024.



                                                _________________________________
                                                XAVIER RODRIGUEZ
                                                UNITED STATES DISTRICT JUDGE
